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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA


  MICHAEL ASHFORD
                                                             CIVIL ACTION NO. 2:14-cv-992
  versus

  AEROFRAME SERVICES, LLC AND                                JUDGE WALTER
  AVIATION TECHNICAL SERVICES, INC.

                                                             MAGISTRATE JUDGE KAY



     ATS’S EX PARTE MOTION FOR LEAVE TO FILE SECOND SUPPLEMENTAL
    MEMORANDUM SUGGESTING APPROPRIATE SANCTIONS, WITH EVIDENCE

           NOW INTO COURT, through undersigned counsel, comes Defendant Aviation

  Technical Services, Inc. (“ATS”), who moves this Court for leave to file the attached Second

  Supplemental Memorandum Suggesting Appropriate Sanctions, With Evidence, and states as

  follows:

                                                 1.

           ATS seeks leave to file the Second Supplemental Memorandum and the exhibits thereto

  in advance of the hearing on what amount of sanctions would be appropriate, scheduled for

  August 10, 2021, to update the Court on the additional attorneys’ fees and costs incurred by ATS

  after those fees and costs submitted with ATS’s Supplemental Memorandum Suggesting

  Appropriate Sanctions. Rec. Doc. 311.

                                                 2.

           Supplemental declarations of ATS’s attorneys, R. Patrick Vance and Samuel B. Gabb,

  and exhibits thereto, including the contemporaneous invoices of Jones Walker LLP and Plauché,

  Smith & Nieset, LLC, are attached to the Second Supplemental Memorandum.



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                                                   3.

           Together with Mr. Vance’s and Mr. Gabb’s original and previous supplemental

  declarations and exhibits, the instant submission demonstrates that, as a direct result of the

  egregious bad faith actions taken by the Sanctioned Parties to deny ATS its right to a federal

  forum and the pursuit of meritless claims against ATS in 15 separate cases, ATS has now

  incurred more than $1.75 million in attorneys’ fees and costs.

                                                   4.

           This Court has authorized the parties to make submissions to update previous

  submissions in open court at the hearing on August 10, 2021. Rec. Doc. 324.

                                                   5.

           ATS’s proposed Second Supplemental Memorandum Suggestion Appropriate Sanctions

  and the exhibits thereto are the submissions that ATS intends to make at the hearing.

                                                   6.

           On August 5, 2021, undersigned counsel for ATS sent an e-mail to counsel for the

  Sanctioned Parties to determine whether there was any opposition to this Motion. Only David

  Frohn, counsel for Thomas A. Filo and Somer G. Brown, replied. Mr. Frohn confirmed that he

  has no objection to this Motion.


           WHEREFORE, Aviation Technical Services, Inc. prays that this Court grant this Ex

  Parte Motion for Leave to File Second Supplemental Memorandum Suggestion Appropriate

  Sanctions, With Evidence, and that the attached Memorandum and exhibits thereto be entered

  into the record of the above-captioned matter.




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                                     Respectfully submitted,

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